Appellate Case: 23-1251     Document: 010110910075      Date Filed: 08/28/2023    Page: 1




                                         23-1251
                    IN THE UNITED STATES COURT OF APPEALS
                            FOR THE TENTH CIRCUIT
  JARED POLIS, in his official capacity as
  Governor of the State of Colorado,

         Defendant - Appellant,
  v.

  ROCKY MOUNTAIN GUN OWNERS,
  TATE MOSGROVE, and ADRIAN S.
  PINEDA,

         Plaintiffs - Appellees.

          On Appeal from the United States District Court, District of Colorado
                          The Honorable Phillip A. Brimmer
                                 Chief District Judge
                          District Court Case No. 23-cv-01077-PAB

   REPLY IN SUPPORT OF GOVERNOR POLIS’S EMERGENCY MOTION TO
    STAY THE DISTRICT COURT’S PRELIMINARY INJUNCTION PENDING
                             APPEAL

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Appellate Case: 23-1251                Document: 010110910075                      Date Filed: 08/28/2023                Page: 2




                                              TABLE OF CONTENTS

 ARGUMENT....................................................................................................................... 2

    I.        Plaintiffs failed to clearly establish an injury-in-fact supporting their standing. 2

    II.       The Governor is likely to succeed on the merits of his appeal. .......................... 2

              A. History is highly relevant at both steps of Bruen. ......................................... 2

              B. Plaintiffs’ request to nullify Heller’s category of presumptively lawful
                 regulations should be rejected. ...................................................................... 6

              C. Plaintiffs repeat the same errors committed by the district court under
                 Bruen’s second step. ...................................................................................... 7

              D. The district court erred by failing to reason-by-analogy from the Governor’s
                 Founding-era analogues. ................................................................................ 8

    III.      The remaining factors support staying the preliminary injunction. .................. 11




                                                                ii
Appellate Case: 23-1251                 Document: 010110910075                       Date Filed: 08/28/2023                 Page: 3




                                                 TABLE OF AUTHORITIES

                                                                                                                         Page(s)

 CASES
 Dist. of Columbia v. Heller,
   554 U.S. 570 (2008) ........................................................................................ 3, 4, 6, 7, 8
 Firearms Pol'y Coal. v. McCraw,
   623 F. Supp. 3d 740 (N.D. Tex. 2022) ........................................................................ 1, 8
 Morse v. Frederick,
  551 U.S. 393 (2007) ........................................................................................................ 4
 New York State Rifle & Pistol Ass'n, Inc. v. Bruen
   142 S. Ct. ................................................................................................................ passim
 Tex. All. for Retired Ams. v. Hughs,
   976 F.3d 564 (5th Cir. 2020) ........................................................................................... 2
 Tinker v. Des Moines Indep. Comm. Sch. Dist.,
 393 U.S. 503 (1969) ............................................................................................................ 5
 United States v. Daniels,
   2023 WL 5091317 (5th Cir. 2023) .................................................................................. 6
 United States v. Prince,
   635 F. Supp. 3d 455 (S.D. W. Va. 2022) ........................................................................ 7
 Worth v. Jacobson,
   2023 WL 3052730 (D. Minn. Apr. 24, 2023) ................................................................. 1
 STATUTES
 § 2-4-401(6), C.R.S. ............................................................................................................ 5
 CONSTITUTION
 U.S. Const., amend. I .......................................................................................................... 5
 U.S. Const., amend. II ................................................................................... 1, 2, 4, 5, 8, 11
 U.S. Const., amend. XIV ..................................................................................................... 8

 OTHER AUTHORITIES

 S.B. 23-169, 1st Reg. Sess., 74th Colo. Gen. Assemb. .................................. 2, 7, 9, 10, 11



                                                                 iii
Appellate Case: 23-1251      Document: 010110910075          Date Filed: 08/28/2023          Page: 4




        Contrary to Plaintiffs’ arguments, a stay of the district court’s preliminary

 injunction is strongly merited. Other courts evaluating similar age-based restrictions have

 not hesitated to grant stays of injunctions pending appellate review, recognizing the State

 is likely to prevail on the “substantial, difficult, and novel legal issues” raised under

 Bruen. Worth v. Jacobson, 2023 WL 3052730, *3 (D. Minn. Apr. 24, 2023); see

 Firearms Pol’y Coal. v. McCraw, 623 F.Supp.3d 740, 757 (N.D. Tex. 2022).

        These courts granted stays for the same reasons the Governor urges here. They

 candidly acknowledge other courts may differ on whether “the people” protected by the

 Second Amendment “extend[s] historically to those whom the law considered minors or

 ‘infants.’” Worth, *2. They also recognize that ascertaining whether a law qualifies as a

 “relevantly similar historical analog” is “not a straightforward endeavor,” id., and an

 appellate court may well disagree regarding “how closely a valid regulation must hew to

 its predecessor” to pass constitutional muster. McCraw, at 757. Because Bruen leaves

 courts “without fully formed answers” on these questions, id., the preliminary injunction

 should be stayed pending this Court’s review.




                                                1
Appellate Case: 23-1251           Document: 010110910075         Date Filed: 08/28/2023      Page: 5




                                              ARGUMENT

 I.      Plaintiffs failed to clearly establish an injury-in-fact supporting their standing.

             Plaintiffs incorrectly attempt to lower their burden to establish standing at the

      preliminary injunction stage. When evaluating standing at the preliminary injunction

      stage, courts must be careful not to conflate the “minimal showing” needed to overcome

      a motion to dismiss with the “clear showing” of standing required to receive a

      preliminary injunction. Tex. All. for Retired Ams. v. Hughs, 976 F.3d 564, 567 n.1 (5th

      Cir. 2020).

             The record is devoid of evidence on concrete plans the individual Plaintiffs have

      to buy firearms, where and when they intend to purchase firearms, the types of firearms

      they intend to purchase, whether they were able to purchase firearms in the 101 days

      between their filing this lawsuit and SB23-169’s effective date, whether they already own

      firearms, and whether they turned 21 in the two months between signing their

      declarations and SB23-169 taking effect. Without more concrete facts clearly showing

      their standing, Plaintiffs failed to carry their burden.

II.      The Governor is likely to succeed on the merits of his appeal.

             A.     History is highly relevant at both steps of Bruen.

             On the merits, Plaintiffs first contend Bruen’s initial “plain text” step involves no

      historical inquiry. Plaintiffs argue courts cannot consider historical understandings of the

      Second Amendment’s text at Bruen’s first step and, thus, they were not obligated to

      present historical evidence.

                                                     2
Appellate Case: 23-1251      Document: 010110910075           Date Filed: 08/28/2023       Page: 6




        But Heller was clear that courts interpret the Constitution’s text by interpreting the

 words as “known to ordinary citizens in the founding generation.” Dist. of Columbia v.

 Heller, 554 U.S. 570, 577 (2008). Heller called this a “textual analysis,” id. at 578, but of

 course consulted a bevy of historical sources to ascertain the public’s understanding. To

 name just a few, Heller’s textual analysis included: 18th- and 19th-century dictionaries;

 18th- and 19th-century state constitutional provisions and statutes; records of the

 Continental Congress; 19th-century state court decisions; 18th- and 19th-century legal

 treatises and commentaries; the Federalist Papers and other Founders’ writings; the 1788

 ratification debates; 17th- and 18th-century English statutes and compilations; 18th-

 century newspaper articles and magazines; and 18th-century debates in the British

 Parliament. 554 U.S. at 580-600.

         Each of these historical sources is discussed in section II.A of Heller. Section II.A

 focuses on the amendment’s text, as shown by its further division into subsections

 corresponding to the amendment’s different textual phrases. The Court’s lengthy

 discussion of the public’s historical understanding in section II.A confirms that history is

 indispensable to analyzing constitutional text.

        Bruen endorsed Heller’s approach. The Court explained lower courts must rely

 “on history to inform the meaning of constitutional text.” 142 S. Ct. at 2130. Plaintiffs are

 thus incorrect that courts do not consider historical evidence when first interpreting the

 text. Instead, Bruen requires courts consider history at both steps. If the plaintiff first


                                                3
Appellate Case: 23-1251      Document: 010110910075         Date Filed: 08/28/2023      Page: 7




 shows the amendment’s text, as informed by history, covers their conduct, then the

 burden shifts to the government to show its regulation is consistent with the Nation’s

 historical tradition. 1

        Plaintiffs also assert the Founders knew how to insert age-based restrictions into

 the Constitution when they meant to. But this argument proves too much. It ignores that

 the Second Amendment contains no explicit age threshold, leaving it up to the States to

 decide the appropriate age to purchase firearms. Plaintiffs have never argued all persons

 enjoy rights under the amendment. Nor could they. Just as a six-year-old at the Founding

 was not understood to enjoy the right to keep and bear arms, minors under 21 similarly

 lacked the right.

        Plaintiffs argued below the court should instead look to “the generally recognized

 age of majority as established in a state at the time of the Court’s inquiry.” App. D at 10.

 Plaintiffs again cite to 20th-century history to argue the text covers 18-to-20-year-olds. 2



        1 Plaintiffs argue Bruen devoted only four paragraphs to its first-step analysis,

 none of which relied on history. But Bruen relied extensively on Heller’s prior textual
 analysis of public carry that was grounded in history. 142 S. Ct. at 2134-35. And the State
 in Bruen “conced[ed]” that the amendment’s text guarantees a right to public carry,
 rendering it unnecessary for the Court to undertake a lengthy step-one analysis. Id. at
 2135.
        2
         Plaintiffs rely on three 20th-century cases dealing with public school students to
 broadly argue that minors hold constitutional rights. Resp. 16. But those cases do not
 involve the Second Amendment. Moreover, contrary to Bruen, none of those cases
 analyzes whether minors held constitutional rights when the Constitution was adopted.
 Morse v. Frederick, 551 U.S. 393, 418-19 (2007) (Thomas, J., concurring) (criticizing

                                               4
Appellate Case: 23-1251      Document: 010110910075         Date Filed: 08/28/2023      Page: 8




 This argument fails for two reasons. First, 21 is the general age of majority in Colorado,

 not 18. § 2-4-401(6), C.R.S. Second, Plaintiffs’ interpretive method is logically

 inconsistent. Plaintiffs demand the Court look only to the Founding era when interpreting

 the scope of Second Amendment’s “keep and bear Arms” phrase but then insist the Court

 look to 21st-century understandings of what is meant by “the people.”

        Plaintiffs’ position makes Bruen an unworkable test. The State must show a

 Founding-era restriction on the right when Plaintiffs can only argue the right originated in

 the mid-20th century. Meanwhile, the State’s evidence of widespread restrictions on

 those under 21 in the 1870s purportedly comes “too late,” despite predating Plaintiffs’

 history by 100 years.

        Contrary to Plaintiffs’ unworkable approach, history matters at both of Bruen’s

 steps. Plaintiffs have the initial burden of demonstrating their conduct was covered by the

 “public understanding” of the amendment’s text at or after its ratification. 142 S. Ct. at

 2128. This requires Plaintiffs to bring forth evidence that the amendment’s words

 covered minors’ conduct in the 18th and 19th centuries. Otherwise, the State would

 illogically be required to show a historic restriction at step two before the right has even

 been established at step one.




 Tinker and stating it contravenes how the First Amendment was “originally understood”
 and the “history of American public education”).
                                               5
Appellate Case: 23-1251        Document: 010110910075          Date Filed: 08/28/2023     Page: 9




        Here, although the Governor carried no burden at step one, 3 he presented robust

 expert testimony from renowned historians to explain 18-to-20-year-olds’ status as

 minors without full legal rights. App. H, I. They explained that “[d]uring the

 Revolutionary and Founding eras (1776-1799), minors or ‘infants’ (those below the age

 of twenty-one, which was the age of legal majority at the time) were not independent

 legal actors claiming the full panoply of rights, including the right to keep and bear

 arms.” App. H at 4. This testimony is unrebutted. 4 Plaintiffs offered no historical

 evidence suggesting 18-to-20-year-olds held the right to keep and bears. United States v.

 Daniels, 2023 WL 5091317, *19 (5th Cir. 2023) (Higginson, J., concurring) (Bruen

 requires an “evidentiary inquiry” be conducted “in courts of original jurisdiction, subject

 to party presentation principles, aided by discovery and cross-examination and without

 authority to solicit expert opinion”).

        B.       Plaintiffs’ request to nullify Heller’s category of presumptively lawful
                 regulations should be rejected.

        Plaintiffs next contend that, after Bruen, there are no presumptively lawful firearm

 regulations. Bruen disproves this argument. The Court recognized firearm restrictions in

 “sensitive places” was one category of presumptively lawful restrictions announced in




        3
            Plaintiffs do not dispute they carry the burden at Bruen’s first step.
        4
          Plaintiffs assert 18-to-20-year-olds held rights under the amendment because
 they were required to provide their own firearms for militia service. But this contradicts
 the only evidence in the record. App. H at 37. The district court similarly rejected
 Plaintiffs’ argument. App. M at 36.
                                                 6
Appellate Case: 23-1251      Document: 010110910075         Date Filed: 08/28/2023       Page: 10




  Heller. 142 S. Ct. at 2133. It continued to uphold the “lawfulness of such prohibitions,”

  even though the historical record revealed “few” such sensitive places. Id. This analysis

  confirms Heller’s “presumptively lawful” category survives after Bruen and that such

  regulations need not undergo Bruen’s two-step analysis. United States v. Prince, 635

  F.Supp.3d 455, 466 (S.D. W.Va. 2022) (finding it unnecessary to engage in Bruen’s

  historical analysis because it “left generally undisturbed” the presumptively lawful

  category).

         Plaintiffs also inaccurately describe what SB23-169 reaches, suggesting it

  regulates only 18-to-20-year-olds’ ability to purchase firearms. That is wrong.

  Colorado’s new law is also a commercial regulation on the sale of firearms. It prevents

  licensed gun dealers and private sellers from “mak[ing] or facilitat[ing] the sale” of a

  firearm to anyone under 21. App. A, §§2-3. Following Heller’s carve-out, multiple courts

  have upheld similar commercial age-based regulations. Motion, 12-13. Plaintiffs fail to

  rebut these cases.

         C.     Plaintiffs repeat the same errors committed by the district court under
                Bruen’s second step.

         Plaintiffs also repeat the district court’s error by demanding Colorado identify a

  Founding-era “dead ringer” rather than a relevantly similar analogue. First, Plaintiffs

  argue historical sales restrictions in the 19th century that were nearly identical to SB23-

  169 and adopted by nearly 20 states came “too late in time.” Resp. 22. But Plaintiffs’

  own arguments show why Reconstruction-era history is relevant. They argue

                                                7
Appellate Case: 23-1251      Document: 010110910075          Date Filed: 08/28/2023      Page: 11




  constitutional rights are “enshrined with the scope they were understood to have when the

  people adopted them.” Resp. 22. Colorado agrees. Colorado adopted the Fourteenth

  Amendment (and thus the Second Amendment) in 1876. History from this period is thus

  critical to understanding the constitutionality of Colorado’s gun law. Indeed, both Heller

  and Bruen considered 19th-century history.

         Plaintiffs nonetheless argue 19th century evidence “cannot vary” clear Founding-

  era evidence. Resp. 22. But Plaintiffs presented no Founding-era evidence. The Governor

  was the only party to submit any Founding-era evidence, which demonstrated the

  amendment was not understood to create a right for those under 21. Thus, no

  contradiction exists. Plaintiffs cannot simply ignore 19th-century laws “enacted by the

  overwhelming majority of states,” Resp. 23, by asserting without evidence that these laws

  contradict some earlier understanding that Plaintiffs have not established. At best,

  Plaintiffs’ argument shows reasonable minds may harbor “different interpretations”

  regarding how to utilize Reconstruction-era history. McCraw, 623 F.Supp.3d at 757. This

  counsels in favor of, not against, a stay of the preliminary injunction. Id.

         D.     The district court erred by failing to reason-by-analogy from the
                Governor’s Founding-era analogues.

         The district court also failed to consider how the 19th-century sales restrictions

  were consistent with earlier historical analogues. Plaintiffs’ arguments, which the district

  court adopted, misunderstand Bruen’s requirement that courts “reason[] by analogy.” 142




                                                8
Appellate Case: 23-1251      Document: 010110910075          Date Filed: 08/28/2023      Page: 12




  S. Ct. at 2132. In reasoning by analogy, courts must consider “how and why the

  regulations burden a law-abiding citizen’s right to armed self-defense.” Id. at 2133.

         First, the “how.” The historical analogues identified by the Governor restrict

  minors’ self-defense in much the same way SB23-169 restricts the right—they reduce the

  channels through which minors can lawfully use and possess firearms. Early college

  restrictions, for example, prohibited students from possessing firearms on campus.

  Professor Spitzer identified early college firearm restrictions at 22 institutions across 19

  States. App. I at 62-67. This is far more than a mere “localized” restriction. Plaintiffs

  argue college restrictions only applied to a small population but ignore the Governor’s

  evidence that early colleges were the lone exception to direct parental authority for those

  under 21. App. H at 27. Likewise, the Founding-era laws from New York City, Delaware,

  South Carolina, and Connecticut prohibited minors from discharging firearms within

  certain municipal boundaries—again reducing but not eliminating minors’ opportunities

  to use and possess firearms. Even if these restrictions were not “dead-ringers,” they

  demonstrate a clear public understating that States could restrict minors’ access and use,

  consistent with the rise of widespread sales restrictions most similar to SB23-169 in the

  19th century. App. I at 8-9, 21-61.

         The same “how” applies to SB23-169. It reduces, but does not eliminate, the

  channels through which an 18-to-20-year-old can lawfully use and possess firearms.

  While commercial and private sales are now off the table, an 18-to-20-year-old can still


                                                9
Appellate Case: 23-1251      Document: 010110910075          Date Filed: 08/28/2023       Page: 13




  use and possess firearms they borrow, inherit, or receive as a gift, as well as firearms they

  purchased before SB23-169’s effective date. They may also purchase a firearm if they are

  a member of the Armed Forces, a peace officer, or P.O.S.T. Board-certified. App. A,

  §§2-3. Thus, the “how” behind SB23-169 is relevantly similar to the Governor’s

  historical analogues.

         Next, the “why.” The Governor’s evidence established SB23-169 restricts 18-to-

  20-year-olds’ opportunities to use and possess firearms because many minors under 21

  have not yet matured into full-fledged adults capable of acting responsibly with firearms.

  Dr. Steinberg testified 18-to-20-year-olds are more prone to engage in dangerous

  behavior with firearms because their brains are still developing. App. L at 5. This

  “psychological and neurobiological immaturity” renders them “inherently riskier” than

  adults with fully developed brains. Id. at 6.

         The same concerns over the psychological immaturity of 18-to-20-year-olds

  animated the Founding- and Reconstruction-eras restrictions. Twenty-one was the age of

  majority in most states in the 18th and 19th centuries. App. I at 11. Those under 21 could

  keep and bear arms only in “supervised situations” under the direction of those who held

  legal authority over them. App. H at 29. Even for those 18-to-20-year-olds who attended

  college outside of their parents’ direct supervision, the college itself acted as a parental

  substitute. Id. at 27.




                                                  10
 Appellate Case: 23-1251          Document: 010110910075           Date Filed: 08/28/2023       Page: 14




              Accordingly, the “why” behind early historical restrictions on minors’ use and

       possession of firearms is sufficiently analogous to SB23-169. Were the district court’s

       more rigid approach adopted, the States would be left powerless to address

       “unprecedented societal concerns” related to firearms. Bruen, 142 S. Ct. at 2132.

III.      The remaining factors support staying the preliminary injunction.

              Plaintiffs fail to establish that the remaining stay factors tilt in their favor. They do

       not dispute, for example, that Colorado suffers irreparable harm “[a]ny time” it is

       enjoined from effectuating a statute enacted by its elected representatives. Motion, 19.

       Nor do Plaintiffs rebut the Governor’s showing that firearms are now the leading cause of

       death among 18-to-20-year-olds. Colorado will thus indisputably suffer irreparable harm

       absent a stay.

              By contrast, Plaintiffs identify no concrete, irreparable harm they will incur if a

       stay is granted. Nowhere in their response do they assert they are currently without

       firearms for self-defense. Nor do they allege any specific plans to purchase particular

       firearms. Plaintiffs instead argue their harm is presumed because, in their view, SB23-

       169 is unconstitutional. But as already shown, Colorado’s law comports with the Second

       Amendment. Plaintiffs have thus not made the clear showing needed to establish

       irreparable harm.

              The public interest also strongly supports a stay. As the Governor has shown,

       more and more 18-to-20-year-olds will continue to purchase firearms each day SB23-169

       remains enjoined. Risk taking, impulsiveness, and reckless behavior peak in this age
                                                     11
Appellate Case: 23-1251     Document: 010110910075        Date Filed: 08/28/2023       Page: 15




  range due to ongoing brain development. Absent a stay, the public interest will be

  detrimentally harmed by exposing this group (and the public at large) to further gun

  violence.

        Dated: August 28, 2023

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                                             12
Appellate Case: 23-1251     Document: 010110910075        Date Filed: 08/28/2023     Page: 16




                              CERTIFICATE OF SERVICE

         I hereby certify that on August 28, 2023, I served a true and complete copy of the
  foregoing REPLY IN SUPPORT OF GOVERNOR POLIS’S EMERGENCY
  MOTION TO STAY THE DISTRICT COURT’S PRELIMINARY INJUNCTION
  PENDING APPEAL upon all parties herein by e-filing with the CM/ECF system
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                                              13
Appellate Case: 23-1251    Document: 010110910075      Date Filed: 08/28/2023   Page: 17




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  1. This reply complies with the type-volume limitation of Fed. R. App. P. 27(d)(2)
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        this Reply contains 2,600 words.

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  Date: August 28, 2023.

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                                           14
